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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                              )
        STEVE HESSE and ADAM BUXBAUM,
       ______________________________________                 )
                         USA / Plaintiff(s)                   )
                                                              )
               v.                                             )                  19 Cv. 972
                                                                      Case No.: _________________________
                                                              )
                                                              )
        GODIVA CHOCOLATIER, INC., et al.,
       ______________________________________                 )
                         Defendant(s)                         )
                                                              )
                                                              )


                             NOTICE OF FILING OF OFFICIAL TRANSCRIPT


                                                                                                3/28/22
       Notice is hereby given that an official transcript of a ________________ held on __________________
has been filed by the court reporter/transcriber in the above-captioned matter.

        Redaction responsibilities apply to the attorneys of record or pro se parties, even if the person requesting
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       The parties have seven (7) calendar days from the date of filing of this NOTICE to file with the court
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 5.2, and Federal Rule of Criminal Procedure 49.1. Parties wishing to request redaction of other information
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        I (we) certify that the foregoing is a correct transcript from the record of proceedings in the above-
entitled matter.


_________________________                             _________________________
Court Reporter/Transcriber                            Date
